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             EXHIBIT 3
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                                        ROBBINS                                    Michael A. Galasso
                                        KELLY                           Admitted in Ohio, Kentucky, and Indiana

   RKPT
    A Legal Professional Association
                                        PATTERSON
                                        TUCKER
                                                                                           mgalasso@rkpt.com




   April 8,2024

   VIA EMAIL smarklev(5)nicholaslaw.org
   AND CERTIFIED MAIL


   Ms. Christi McCracken
   c/o Shaun Markley, Esq.
   Nicholas & Tomasevic, LLP
   225 Broadway, 19th Floor
   San Diego, CA 92101

   RE:      Your Client:               Christi McCracken
            Our Client:                GigSmart, Inc.
            RKPT File No.:             CL2058 Loio

   Dear Mr. Markley:

   Enclosed please find a Demand for Arbitration which has been filed with the American
   Arbitration Association.

   Sincerely,



   Michael A. Galasso

   MAG:rdb
   Enclosures

   cc:      William T. Nagle, Esq.(via email w/encls.)




Main Office: 312 Elm Street Ste. 2200 Cincinnati, OH 45202-2748|Blue Ash: 9545 Kenwood Road Ste.402 Blue Ash, OH 45242
                                  Telephone 5i3-72i.3330 Fax 513.721.5001 www.rkpt.com
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                                                                                           COMMERCIAL ARBITRATION RULES
                                                                                                  DEMAND FOR ARBITRATION


Mediation: If you would like the AAA to contact the other parties and attempt to arrange a mediation, please check this box     .
There is no additional administrative fee for this service.
You are hereby notiﬁed that a copy of our arbitration agreement and this demand are being ﬁled with the American Arbitration
Association with a request that it commence administration of the arbitration. The AAA will provide notice of your opportunity to ﬁle
an answering statement.

Name of Respondent: Christi McCracken

Address: c/o Shaun Markley, Esq., Nicholas & Tomasevic, 225 Broadway, 19th Floor

City: San Diego                                                          State: California              Zip Code: 92101

Phone No.: 619-325-0492                                                  Fax No.: 619-325-0496

Email Address:

Name of Representative (if known): Shaun Markley, Esq.

Name of Firm (if applicable): Nicholas & Tomasevic

Representative’s Address: 225 Broadway, 19th Floor

City: San Diego                                                          State: California              Zip Code: 92101

Phone No.: 619-325-0492                                                  Fax No.: 619-325-0496

Email Address: smarkley@nicholaslaw.org

The named claimant, a party to an arbitration agreement which provides for arbitration under the Commercial Arbitration Rules of
the American Arbitration Association, hereby demands arbitration.
Brief Description of the Dispute:

Declaratory and injunctive relief - terms of contract; class and representative action waiver




Dollar Amount of Claim: $ nonmonetary relief

Other Relief Sought:     Attorneys Fees        Interest    Arbitration Costs       Punitive/Exemplary
  Other: declaratory and injunctive

Amount enclosed: $ 2,200
In accordance with Fee Schedule:        Flexible Fee Schedule       Standard Fee Schedule
Please describe the qualiﬁcations you seek for arbitrator(s) to be appointed to hear this dispute:

Contract




Hearing locale: Cincinnati, Ohio
(check one)      Requested by Claimant       Locale provision included in the contract




                               Please visit our website at www.adr.org/support to ﬁle this case online.
                                      AAA Customer Service can be reached at 800-778-7879.
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                                                                                         COMMERCIAL ARBITRATION RULES
                                                                                                DEMAND FOR ARBITRATION



Estimated time needed for hearings overall: 8                            hours or 1                         days

Type of Business:
Claimant: Technology Platform                                         Respondent: Independent Contractor

Are any parties to this arbitration, or their controlling shareholder or parent company, from different countries than each other?
No

Signature (may be signed by a representative):                         Date:
/s/ Michael A. Galasso                                                 4/4/2024

Name of Claimant: GigSmart, Inc.

Address (to be used in connection with this case): 999 18th Street, Ste 1750S

City: Denver                                                           State: Colorado                 Zip Code: 80202

Phone No.: 720-828-7720                                                Fax No.:

Email Address: support@gigsmart.com

Name of Representative: Michael A. Galasso

Name of Firm (if applicable): Robbins Kelly Patterson & Tucker, LPA

Representative’s Address: 312 Elm Street, Suite 2200

City: Cincinnati                                                       State: Ohio                     Zip Code: 45202

Phone No.: 513-721-3330                                                Fax No.: 513-721-5001

Email Address: mgalasso@rkpt.com

To begin proceedings, please ﬁle online at www.adr.org/ﬁleonline. You will need to upload a copy of this Demand and the
Arbitration Agreement, and pay the appropriate fee.




                             Please visit our website at www.adr.org/support to ﬁle this case online.
                                    AAA Customer Service can be reached at 800-778-7879.
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GigSmart Terms of
Use and End User
License Agreement
Last Revised: 01/30/2024

IMPORTANT NOTICE: THIS AGREEMENT CONTAINS A BINDING ARBITRATION
PROVISION AND CLASS ACTION WAIVER. IT AFFECTS YOUR LEGAL RIGHTS AS
DETAILED IN THE ARBITRATION AND CLASS ACTION WAIVER SECTION BELOW.
PLEASE READ CAREFULLY.

ACCEPTANCE OF THESE TERMS BY DOWNLOADING THE GIGSMART APP OR BY
ACCESSING, VIEWING, OR USING THE APP, OR ANY TOOLS AND SERVICES PROVIDED
IN CONNECTION WITH THE APP OR THE SITES (COLLECTIVELY THE APP, THE SITES,
AND ALL RELATED TOOLS AND SERVICES) ARE REFERRED TO AS THE PLATFORM.
YOU UNDERSTAND AND AGREE TO BE BOUND BY ALL TERMS AND CONDITIONS
CONTAINED IN THESE TERMS OF USE.

IF YOU OBJECT TO ANYTHING IN THESE TERMS OF USE, INCLUDING THE
MANDATORY ARBITRATION PROVISION AND CLASS ACTION WAIVER IN SECTION 33,
OR OTHERWISE DO NOT UNDERSTAND OR AGREE TO BE BOUND BY THESE TERMS
OF USE, DO NOT USE THE SERVICE AND UNINSTALL THE APP IMMEDIATELY.

These terms and conditions and end user license agreement (collectively “Terms of Use”)
set forth the terms and conditions of GigSmart, Inc. (“GigSmart”) applicable to your use of
the Service. GigSmart encourages you to read these Terms of Use carefully.

All references to “you” or “your,” as applicable herein in context with the Terms, mean the
person, company, entity or organization which accesses or uses the Service, in any manner,
and each of your heirs, assigns, and successors. If you use the Platform on behalf of an
entity, you represent and warrant that you have the authority to bind that entity, your



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acceptance of the Terms will be deemed an acceptance by that entity, and “you and “your”
herein shall refer to that entity.




1. KEY TERMS
“GigSmart” means and includes GigSmart and its affiliates and subsidiaries and its and their
investors, officers, directors, employees, agents, representatives, and assigns.

Platform means all GigSmart digital websites, digital smartphone applications, internal
communications App, software, or other processes that facilitate the provision of Services
by Workers who offer to provide Services or use the Platform, or Requesters requesting
Services from Workers or otherwise use the Platform.

“User” means any person, company, entity or organization who accesses or uses the
Platform or Services that GigSmart offers, including parents and caregivers, whether or not
such User personally installed the Worker, the Requester or both of the Apps or created an
account.

“Worker” means any User who offers to provide Services or otherwise uses the Platform to
provide, receive payment for or facilitate the provision of Services.

“Requester” means any User requesting Services from workers or otherwise uses the
Platform to receive, pay for or facilitate the acquisition of Services.

“Content” means texts, chat messaging, or calls through GigSmart’s internal
communications App, graphics, images, music, software, audio, video, information or other
materials, including but not limited to profile information, Service requests, Service offers,
message threads, reviews, scheduling and calendar information, and other information or
materials available on or through the Platform.

“GigSmart Content” means all Content GigSmart makes available on or through the
Platform, including any Content licensed from a third party, but excluding User Content.

“User Content” means all Content you submit, post, upload, publish, or transmit on or
through the Platform, including but not limited to chat messaging or calls through



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GigSmart’s internal communications App, photographs, profile information, descriptions,
postings, and reviews.

“Collective Content” means both User Content and GigSmart Content.

“Services” means all Services listed, scheduled, offered or provided by Workers, or sought,
scheduled or received by Requesters through the Platform.

“Confidential Information” means any and all information related to GigSmart’s or any
Customer’s business (including trade secrets, technical information, business forecasts and
strategies, marketing plans, customer and supplier lists, personal information, financial
data, and proprietary information of third parties including Customers) that GigSmart
and/or the Customer considers to be confidential or proprietary or GigSmart has a duty to
treat as confidential.

“Intellectual property rights” means patents, copyrights, moral rights, trademarks, and
trade secrets, but not privacy or publicity rights.




2. MODIFICATIONS
You understand and agree that GigSmart may revise, modify and/or supplement these
Terms of Use (the “Revised Terms of Use”) at any time. Any Revised Terms of Use will be
effective immediately after notice is sent to you via the GigSmart internal email system or
by such other forms of notice as may be determined by GigSmart. If you do not agree to the
Revised Terms of Use, you must stop using the Platform or Services offered by the
Company and close your account (and uninstall the App where necessary). You can close
your account through the Account Settings page or by emailing the Company
at support@gigsmart.com. By continuing to use the Platform and Services following notice,
or by failing to close your account or uninstall the App, you hereby expressly agree to be
bound by the Revised Terms of Use and acknowledge that your continued use of and access
to the Platform is valid consideration for the Revised Terms of Use.

GigSmart reserves the right in its sole discretion to review, improve, modify or discontinue,
temporarily or permanently, the Platform and/or any features, information, materials or
content on the Platform with or without notice to you. You agree that GigSmart shall not be



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liable to you or any third party for any modification or discontinuance of the Platform or
any portion thereof.




3. LICENSE & SERVICES
Subject to the terms and conditions set forth in these Terms of Use, GigSmart grants you a
personal, nonexclusive, nontransferable license to use the Platform and to download and
use the App on any mobile device that you own or control, solely for your personal, non-
commercial use except as expressly set forth herein.

The Platform will be in the form and format as determined by GigSmart in its sole
discretion from time to time, and such form and format may limit or restrict use to certain
types of devices at the exclusion of others and may have additional licensing terms
restricting their use thereto.

Such license is subject to these Terms of Use and, except as expressly provided in these
Terms of Use, does not include: (A) any resale or commercial use (except as expressly set
forth herein) of the Service or of any content or materials contained therein (“GigSmart
Content”); (B) modifying or otherwise making any derivative uses of the Service or any
GigSmart Content; (C) use of any data mining, robots or similar data gathering or extraction
methods; (D) reproducing, distributing, publicly performing or publicly displaying the
Platform or the GigSmart Content; (E) reverse engineering or otherwise attempting to
discover any source code; or (F) any use of the Service other than for its intended purpose.
Any use of the Platform or the GigSmart Content other than as specifically authorized
herein, without the prior, written permission of GigSmart, is strictly prohibited and will
terminate the license granted herein. Such unauthorized use may also violate applicable
laws, including without limitation copyright and trademark laws and applicable
communications regulations and statutes. Unless explicitly stated herein, nothing in these
Terms of Use shall be construed as conferring any license to intellectual property rights,
whether by estoppel, implication or otherwise. This license is revocable at any time.

Different terms and conditions
Certain areas of and/or products on the Platform may have different terms and conditions
posted or may require you to agree with and accept additional terms and conditions or
policies. If there is a conflict between these Terms and terms and conditions or policies


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posted for a specific area or product, the latter take precedence with respect to your use of
that area or product.

The Service Offers a Venue
The Platform merely offers tools, resources, and a venue to connect those seeking Services
(Requesters) with those seeking to provide Services (Workers). You understand and agree
that GigSmart: (A) does not employ, recommend or endorse any Users and has no control
over the acts or omissions of any Users; (B) is not responsible or liable in any manner for
the performance or conduct of any Users or other third parties online or offline; (C) makes
no representations or warranties about the quality of the Services provided by any User or
about your interactions or dealings with other Users; and (D) does not screen Users or
automatically conduct any kind of identity or background checks except as otherwise
expressly stated in these Terms of Use or on the Platform. Regardless of whether GigSmart
screens users or performs a background check, you should exercise caution and perform
your own screening before connecting with anyone through the Platform, meeting anyone,
engaging Users or accepting engagements. GigSmart hereby expressly disclaims, and you
hereby expressly release GigSmart from, any and all liability whatsoever for any
controversies, claims, suits, injuries, loss, harm and/or damages arising from and/or in any
way related to the Platform or your interactions or dealings with other Users, including
without limitation any acts and/or omissions of Users online or offline. By using the
Platform, you acknowledge and agree that you are solely responsible for your use of the
Platform and the connections you make and that all use of the platform is at your sole and
exclusive risk.

Transactions Are Between Users; Release
The Platform may be used to help obtain or offer Services provided by Users and to
facilitate payment for such Services. However, Users transact solely between themselves,
and GigSmart is not a party to any transactions between Users. GigSmart hereby expressly
disclaims, and you hereby expressly release GigSmart from, any and all liability whatsoever
for any controversies, claims, suits, injuries, loss, harm and/or damages arising from
and/or in any way related to disputes, dealings, or interactions between you and any other
Users or third parties.

Eligibility
You represent and warrant that you currently meet and will continue to meet the following
eligibility conditions (“Eligibility Conditions”) for as long as you use the Platform: (A) you



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are at least eighteen (18) years old; if you are under 18 years old, you have parental or
guardian consent to use the Platform; if you are under 18 years old, and you are a volunteer
for charities, or performing service hours for your school, or other agency or entity, you
have parental or guardian consent; (B) you comply with all laws, rules and regulations in
connection with your use of the Platform and any Services arranged through the Platform,
including without limitation legal authorization to work in the jurisdiction in which you
seek to provide or receive Services; (C) you have the right, authority and capacity to enter
into these Terms of Use and to abide by all of the terms and conditions in these Terms of
Use. By using the Platform, you understand and agree that GigSmart may rely on the above
Eligibility Conditions representations and warranties as true. You understand and agree
that GigSmart may revise the Eligibility Conditions from time to time and require new
conditions and certifications. You understand that you will abide by such revised Eligibility
Conditions or discontinue using the Platform and uninstall the App and you must
discontinue use of the Platform if at any time you no longer meet the Eligibility Conditions.
If GigSmart becomes aware of or believes that there are violations of the Eligibility
Conditions by any User or that the User has otherwise provided any false or misleading
information, it may, among other things, suspend and/or terminate such User with or
without notice at its sole discretion. If your account is terminated or suspended, you agree
to make no further use of the Platform after termination or during the suspension.

You understand and agree that GigSmart does not routinely verify that any or all of the
Eligibility Conditions are met by any other Users and you further understand and agree
that GigSmart is not responsible for assuring that the Eligibility Conditions are met or for
any failure to suspend, terminate or prevent the use of the Platform by Users who do not
meet the Eligibility Conditions. Except where expressly stated otherwise in these Terms of
Use or on the Platform, you understand and agree that you are solely responsible for
conducting any appropriate background checks and obtaining references prior to engaging
another User to perform Services. You further understand and agree that you are solely
responsible for making your own evaluations, decisions and assessments about whether to
engage other Users to perform Services, accepting any engagements offered by other Users
or otherwise interacting with other Users. GigSmart hereby expressly disclaims, and you
hereby expressly release GigSmart from any and all liability whatsoever for any
controversies, claims, suits, injuries, loss, harm or damages arising from or in any way
related to: (a) any inaccuracy, untimeliness or incompleteness of a User’s Eligibility
Conditions; and/or (b) any misstatements or misrepresentations made by any Users.



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Although GigSmart has no obligation to verify the Eligibility Conditions or conduct any
other screenings, verifications or background checks, it reserves the right to do so in its
sole discretion, and you hereby authorize GigSmart to verify any or all of the above
representations and warranties you make or the other information you provide. Such
verification may include, without limitation, conducting criminal background checks, sex
offender registry checks, motor vehicle records checks, identification verifications, credit
checks and/or using available public records. You consent to any collection, use or
disclosure in order to accomplish such verification. You agree that GigSmart may take such
action as it deems appropriate in its sole discretion, including without limitation
suspending and/or terminating your account, should it determine, in its sole discretion,
that you have violated any representation or warranty or any other provision of these
Terms of Use or it otherwise determines in its sole discretion that such suspension or
termination is appropriate for any reason. You acknowledge that you have no right to rely
on any screenings, verifications, or other background checks undertaken from time to time
by GigSmart. In the event of any suspension or termination, you agree to make no further
use of the Platform after termination or during the suspension.

Your License to Use the Platform
Subject to your compliance with these Terms, GigSmart grants you a limited, non-exclusive,
revocable, nontransferable, and non-sublicensable license to reproduce and display
Collective Content (excluding any software source code) solely and expressly for your
personal and non-commercial use and only in connection with your access to and
participation in the Platform. You will not use, copy, adapt, modify, prepare derivative
works based upon, distribute, license, sell, transfer, publicly display, publicly perform,
transmit, stream, broadcast or otherwise exploit the Platform or Collective Content, except
as expressly permitted in these Terms. The Platform and Collective Content are provided to
you AS IS. If you download or print a copy of Collective Content for personal use, you must
retain all copyright and other proprietary notices contained therein. No licenses or rights
are granted to you by implication or otherwise under any intellectual property rights
owned or controlled by GigSmart or its licensors, except for the licenses and rights
expressly granted in these Terms.

Sanctions for Violations of These Terms
Without limiting any other rights reserved herein, GigSmart may, in its sole discretion, take
any action permitted by law for any violation of these Terms or any other policy or
agreement between you and GigSmart, including but not limited to removing User Content


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you posted, limiting your access to the Platform, assessing monetary penalties, terminating
your Account, decreasing your status or search rank, canceling quotes or postings, blocking
access, investigating you, and/or cooperating with law enforcement agencies in
investigation or prosecution.

Suspension and Termination
We may, in our sole and absolute discretion, with or without cause, with or without prior
notice and at any time, decide to limit, block, suspend, deactivate or cancel your GigSmart
Account in whole or in part. If we exercise our discretion under these Terms to do so, any
or all of the following can occur with or without prior notice or explanation to you: (a) your
Account will be deactivated or suspended, your password will be disabled, and you will not
be able to access the Platform or your User Content, or receive assistance from GigSmart
support teams; (b) if appropriate in our sole discretion, we may communicate to other
users that your Account has been terminated, and why it has been terminated; and (c) you
may not be entitled to any payment for Platform Services cancelled or delayed or as a result
of Account termination. Failure to abide by these Terms or any Code of Conduct or
Cancellation Policy may result in a permanent or temporary suspension from the Platform.
While suspended, you will not have the ability to apply for or work any Gigs, including
“Project Gigs”. Any Gigs you have applied for or are scheduled to apply for will be cancelled.
You will also not be able to apply to Full or Part-Time Positions posted on the Job Board by
GigSmart Requesters. GigSmart shall not be liable to you or any other person for any losses
incurred by you as a result of such suspension. If you are temporarily suspended from the
Platform, we will provide you written notice of when your suspension may be lifted.

You may cancel your use of the Platform and/or terminate your Account at any time. Please
note that if your Account is canceled, we do not have an obligation to delete or return to
you any Content you have posted to the Platform, including, but not limited to, any reviews.
GigSmart reserves the right, but does not undertake any duty, to take appropriate legal
action, including without limitation the pursuit of civil, criminal and/or injunctive redress
against you for continuing to use the Platform or the GigSmart Content during suspension
or after termination, and you agree that GigSmart may recover its reasonable attorneys’
fees and court costs from you for such actions. Even while your account is suspended and
after it is terminated, these Terms of Use will remain enforceable against you. All other
terms that, by their nature, may survive suspension and/or termination of these Terms of
Use shall also be deemed to survive such suspension.




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Assumption of Risk
You assume all risks when using the Platform, including, without limitation, all of the risks
associated with interactions with other Users. You agree to take all necessary precautions
when interacting with other Users.

Limitation of Liability
You acknowledge and agree that, to the maximum extent permitted by law, the entire risk
arising out of your access to and use of the Platform and collective content, your offering or
providing services or requesting or receiving services through the platform, and any
contact you have with other users of GigSmart or third parties, whether in person or online,
remains with you. Neither GigSmart nor any other party involved in creating, producing, or
delivering the platform will be liable (whether based on warranty, contract, tort (including
negligence), product liability or any other legal theory, and whether or not GigSmart has
been informed of the possibility of such damage, even if a limited remedy set forth herein is
found to have failed of its essential purpose) for: (a) any incidental, special, exemplary or
consequential damages, including lost profits, loss of data or loss of goodwill; (b) service
interruption, computer damage or system failure; (c) the cost of substitute products or
services; (d) any damages for personal or bodily injury or emotional distress arising out of
or in connection with these terms; (e) the use of or inability to use the platform, services or
collective content; (f) any communications, interactions or meetings with other users of the
Platform or other persons with whom you communicate or interact as a result of your use
of the platform; or (g) your offering or providing services or requesting or receiving
services through the platform.

Violations of Eligibility Conditions
As noted above, if GigSmart becomes aware of or believes that there are violations of the
Eligibility Conditions by any User or that any User has otherwise provided false or
misleading information, it may, among other things, suspend and/or terminate such User
with or without notice at its sole discretion. In the event of any suspension or termination,
you agree to make no further use of the Platform after termination or during the
suspension.

You understand and agree not to, and not to permit or encourage anyone else to, do any of
the following in connection with the Platform:

                  •
                          o



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                          •   Ignore or violate any of the Conditions of Eligibility;
                          •   Use, hack, modify, or change any User’s account;
                          •   Misrepresent yourself or the Services you offer as a Worker, or
                              otherwise misrepresent your identity, qualifications, profile, or
                              “request;”
                          •   Post any Content in any inappropriate manner or context,
                              including categories or areas on the Platform, ratings, or other
                              information and data;
                          •   Use an automated system to access the Platform for any
                              inappropriate purpose without GigSmart’s prior written approval,
                              specifically, but not limited to, robots, spiders, offline readers, or
                              scrapers;
                          •   Duplicate or copy, or otherwise misuse or misappropriate,
                              copyrighted, proprietary, or other Platform information and/or
                              Content for use on any third party site;
                          •   Misuse and/or disrupt the Platform by transmitting more request
                              for Services messages in a given period of time and with such
                              volume that a human being could not reasonably produce by
                              using available industry web browsers;
                          •   Search engines may use spiders or robots to copy materials from
                              the Platform for the sole purpose of creating publicly available
                              searchable indices of materials, but not for caches or archives of
                              the same. GigSmart reserves the right to revoke these exceptions
                              either generally or specifically;
                          •   Undertake any action, which in GigSmart’s sole discretion
                              unreasonably interferes with the Platform’s infrastructure, its
                              operations, its use by GigSmart, Workers, Requesters, and third
                              parties; undertake any action that circumvents, disables, or
                              otherwise interferes with the Platform’s fee structure, billing
                              procedures, or fees owed, or with the security features of the
                              Platform, including, without limited to, the use of viruses or other
                              technologies and processes that may damage GigSmart or Users;
                          •   Use the Platform in any way that violates any User’s proprietary
                              rights, including copyrights, trademarks, service marks,
                              confidential information, rights to privacy, or other protected
                              rights;
                          •   Misappropriate, accumulate, use, disclose, or publish any
                              personally identifiable information and data for any reason,
                              including, but not limited to, commercial solicitation purposes,
                              names or other account information from Requests and Users, or
                              use the Platform itself for any reason not explicitly authorized by
                              the Terms of Use;
                          •   Use another person’s Account, misrepresent yourself or Services
                              offered through the Platform, misrepresent your identity or
                              qualifications, or post Content in any inappropriate category or
                              areas on the Platform;


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                          •   Use any automated system, including but not limited to robots,
                              spiders, offline readers, scrapers to access the Platform for any
                              purpose without GigSmart’s prior written approval;
                          •   In any manual or automated manner copy copyrighted text, or
                              otherwise misuse or misappropriate Platform information or
                              Content, including but not limited to use on a mirrored,
                              competitive, or third party site;
                          •   Undertake or perform any actions inappropriate or unlawful,
                              including the submission of inappropriate or unlawful content,
                              content which is defamatory, profane, harassing, hateful, or
                              otherwise discriminatory in nature, or which sponsors, promotes,
                              supports, or encourages inappropriate or illegal activity or
                              conduct, which would be considered a criminal offense or which
                              would give rise to civil liability or violate any federal, state, or
                              local law or ordinance;
                          •   Offer or request a Service inappropriate for the Platform,
                              including any Service which (a) is not in supported categories or
                              offers only products or goods; (b) establishes a directory or
                              referral system or source; (c) offers loans, lending Services or
                              products, debt consolidation, or counseling; (d) offers rental
                              space, residential, commercial, or storage; (e) promotes any type
                              of activity or event, such as conferences, parties, “flash” events,
                              pub crawls, trivia parties, etc.; (f) competes with GigSmart; (g) is
                              based outside of the United States; (h) promotes, offers, or
                              facilitates any type of investment scheme, crowdfunding, raffle,
                              lottery, gaming, or sporting pool activity, junk mail, spam, chain
                              letters, pyramid schemes, discount cards, online surveys or
                              contests, games or chance or giveaways; and (i) provides content
                              inappropriate to the Platform;
                          •   Submit User Content that damages the experience of any user,
                              including but not limited to (a) requests to download non-
                              GigSmart mobile applications and/or links that direct the user to
                              mirrored websites where the user must enter information that is
                              redundant with what has already been entered on GigSmart, (b)
                              offers to purchase any other Service outside of GigSmart, or (c)
                              using a profile page or username to promote Services not offered
                              on or through the Platform;
                          •   Take any action that interferes with or undermines the usefulness
                              of the rating systems;
                          •   Engage in any illegal or fraudulent conduct, including, but not
                              limited to any action or conduct designed to interfere with the
                              payment of fees through the Platform;
                          •   Defame, abuse, harass, harm, stalk, threaten or otherwise violate
                              the legal rights (including without limitation rights of privacy and
                              publicity) of others;



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                          •Use the Platform or engage with other Users for any purpose that
                           is in violation of federal, state, or local law or regulation, including
                           without limitation, wage and hour and working condition laws
                           and regulations;
                       • Upload files that contain software or other material that violates
                           the rights of any third party, including, without limitation,
                           intellectual property rights or rights of privacy or publicity;
                       • Upload files that contain viruses, Trojan horses, worms, time
                           bombs, spiders, cancelbots, corrupted files, or any other similar
                           software, malware or materials that may damage, interfere with,
                           disrupt, impair, disable or otherwise overburden the operation of
                           any device, computer system or network;
                       • Take any action that would undermine any aspect of the Platform
                           or use the Platform in any manner that could interfere with,
                           disrupt, or inhibit other users from fully enjoying the Platform or
                           that could damage, disable, overburden or impair the functioning
                           of the Platform in any manner;
                       • Impersonate another person or allow any other person or entity
                           to use your username, password or membership;
                       • Post the same content repeatedly or spam – spamming is strictly
                           prohibited;
                       • Download any file posted by another User that you know, or
                           reasonably should know, cannot be legally distributed through
                           the Platform;
                       • Access, download, or copy any information, content and/or
                           materials from the Platform through artificial means (including
                           without limitation spiders, scrapers, hacking devices, computer
                           programs, bots or other such means); and/or
                       • Reproduce, duplicate, copy, sell, resell or exploit any information,
                           materials or content on the Platform.
The above list is in no way a complete listing of non-permissible activities and GigSmart
retains the right to deactivate, alter or otherwise change any Users account at any time.




4. USER ACCOUNTS & ACTIVITY
Worker Representations and Warranties
By registering or using the Platform to offer, post or provide Services, Workers represent
and warrant that they, and the employees, agents, contractors, and subcontractors who
may perform work for them, are properly and fully qualified and experienced, and licensed,
certified, bonded, and insured, as required by applicable laws or regulations to which they



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may be subject in the jurisdiction(s) in which they offer their Services and in relation to the
specific job they are performing.

Workers further represent and warrant that: they have exclusive control over the details of
the Services to be performed; the occupational skills, if any, required to perform the
Services; the duration of time required to complete the performance of the Services to be
provided; the tools, equipment and materials required to perform the Services to be
provided and the amount of payment they require to perform the Services to be provided.

Workers offering Services further represent and warrant that they are independent
contractors, and no agency, partnership, joint venture, or employment relationship is
created between the Workers and GigSmart nor between the Workers and the Requesters
as a result of the Terms of this Agreement, or the use of the Platform to provide Services to
Users. GigSmart and Workers acknowledge that one does not direct or control in any way
the day-to-day activities of the other or create or assume any obligation on behalf of the
other.

Workers will take no position with respect to or on any tax return or application for
benefits, or in any proceeding directly or indirectly involving GigSmart that is inconsistent
with you being an independent contractor and not an employee of GigSmart.

Workers are not the employees or agents of GigSmart, and you are not authorized, and
must not represent to any third party that you are authorized to make any commitment or
otherwise act on behalf of GigSmart.

As independent contractors, Workers are solely responsible for determining which
requests for Services from Requesters they choose to accept and how, when and where
they will provide the requested Services.

Workers are not entitled to or eligible for any benefits that GigSmart, its parents,
subsidiaries, affiliates or other related entities may make available to its own employees.

Because Workers are independent contractors, neither the Requesters or GigSmart will
withhold or make payments for Social Security, make unemployment insurance or
disability insurance contributions, or obtain Workers Compensation insurance on Workers
behalf. If, notwithstanding the foregoing, you are reclassified as an employee of GigSmart,
which GigSmart denies, or any affiliate of GigSmart, which GigSmart denies, by the United


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States Internal Revenue Services (“IRS”), the US Department of Labor (“DOL”) or by any
other federal, state or local agency, you agree that you will not, as result of such
reclassification, be entitled to or eligible for, on either a prospective or retrospective basis,
any employee benefits under any plans or programs established or maintained by either
GigSmart in any of its parents, subsidiaries, affiliates or related entities.

Users are solely responsible for filing all tax returns and submitting all payments as
required by any federal, state, or local tax authority arising from the payment to Workers
for Services performed for Requesters.

Users will comply with all applicable federal, state, local and foreign laws governing self-
employed individuals, where applicable, including laws requiring the payment of taxes,
such as income and employment taxes, and Social Security, disability, and other
contributions. You agree to indemnify GigSmart for the cost of any tax liabilities incurred
by GigSmart as a result of your failure to pay all applicable taxes in a timely manner.

Users acknowledge and agree that the use of the Platform does not violate any collective
bargaining agreements for which you are subject in any capacity. The Platform shall not be
used to circumvent any obligations you may have under any such collective bargaining
agreement or labor union, including which such agreements are in dispute or subject to
negotiations for renewal.

By accepting these Terms you authorize GigSmart to share your information with third-
party vendors on an as needed basis only.

Verified Workers
A Requester may post the availability of a Gig as requiring a verified background check.
GigSmart partners with third-party companies that perform services associated with
background checks and screenings. GigSmart hereby expressly disclaims, and you hereby
expressly release, GigSmart from any and all liability whatsoever for any controversies,
claims, suits, injuries, loss, harm, or damages arising from, or in any way related to, your
request to have a background check obtained through GigSmart’s third-party background
check service provider (Checkr). This includes, but is not limited to, any inaccuracy,
untimeliness, or incompleteness of such a background check, or any misstatements or
misrepresentations made therein. Services available from our third party providers may
include, but are not limited to, the following: SSN Trace, Address History, National Criminal
Records Check, County Criminal Records Check, Sex Offender Registry Check, Federal


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Criminal Records Check, Global Watchlist Records Check, State Criminal Records Check,
County and Federal Civil Records Check, Driver Check, National and International
Employment Verifications, Personal or Professional Reference Checks, National and
International Education Verifications, Drug Screenings, Credit Checks. For additional
information on third parties, see section ‘Third Parties and Content’.

The use and determination of verification of your background check will be determined in
accordance with the law of the jurisdiction of the Gig, including, but not limited to, any
applicable “Fair Chance Act” or “Ban the Box” law or regulation in effect at the time of the
check. You acknowledge and agree that Gigs are posted on the Platform in a short amount
of time prior to the start of the Gig, and therefore, any Gig may expire prior to your
permissible response time to any background check results under applicable laws.

You (Workers and Requesters) acknowledge and agree that the determination to verify a
Worker for verified Gigs is subject to certain jurisdictions’ laws and regulations on the use
of background checks, including, but not limited to, New York, California, Washington, and
the District of Columbia. In some jurisdictions, Workers may still be eligible for Gigs
irrespective of items reported on a background check. GigSmart shall not be liable for any
determination made as to the verification of any Worker for a Gig.

Insurance
As an independent contractor, Worker is solely and exclusively responsible for Worker’s
own insurance. Specifically, in the event that Worker is injured while working in the course
and scope of an engagement sourced through GigSmart, Worker acknowledges and
understands that Worker will not be covered by any workers compensation insurance
coverage that GigSmart may provide to its employees. Further, in the event that Worker’s
actions cause an injury to a third party while Worker is working in the course and scope of
performing an engagement sourced through GigSmart, Worker acknowledges and
understands that Worker will not be covered by any general liability or automobile liability
insurance coverage that GigSmart may have, and that GigSmart is not making any
commitment to defend and/or indemnify Worker in such circumstances, and specifically
denies such obligation.

Certain GigSmart Workers must have occupational accident insurance coverage in order to
perform certain gig engagements. GigSmart has arranged to have occupational insurance
coverage available through On-Demand Independent Contractors Association (“ODICA”)



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for only certain types of gigs. Workers must obtain occupational accident insurance from
ODICA’s insurance carrier, OneBeacon Accident & Health (“OneBeacon”). You will be
charged a Trust and Support Fee, the fee is for benefits that may include insurance, and you
agree to pay that Trust and Support Fee. Additionally, you will be required to become a
member of ODICA. Further information about ODICA and OneBeacon Accident and Health
will be available on the website and in the GigSmart App from time to time. You understand
and agree that the Trust and Support Fee related to the provision of occupational insurance
is owed by you and will be deducted from the proceeds you earn for each gig engagement
worked. By accessing and using the Platform, you consent and agree to these terms and
agree to enroll as a member of ODICA. You also agree to abide by the Bylaws of ODICA, as
amended from time to time.

Requesters are able to submit claims for Non-Owned Auto Liability Insurance as well as
General Liability. Any correspondence or requests associated with claims for Non-Owned
Auto Liability or General Liability Insurance are to be communicated directly with and
through GigSmart. Requester agrees that no claims below $10,000 will be submitted.
Additionally, Requesters agree that they are responsible for covering any claims up to
$10,000 and that in the event a claim exceeds $10,000 they will be responsible to cover the
first $10,000 of each individual claim. THIS INSURANCE ARRANGED BY GIGSMART DOES
NOT EXTEND TO ANY “PROJECT GIGS” OR ANY GIGS IN WHICH A WORKER IS NOT PAID
ON AN HOURLY PAY RATE. WORKER’S AND REQUESTERS ACKNOWLEDGE AND AGREE
THAT NO INSURANCE IS ARRANGED BY GIGSMART FOR SUCH GIGS.

The General Liability insurance coverage DOES NOT cover the following Gigs if such Gigs
includes any of the following: use of cranes, bulldozers, trucks or any other forms of
construction equipment, scaffolding erection and assembly or related services, aircraft,
watercraft, video game developers, placements in correctional facilities or mental health
institutions, or the cannabis industry (or any part thereof).

The Non-Owned Auto insurance coverage DOES NOT cover the following Gigs if such Gigs
includes any of the following: use of cranes, bulldozers, trucks or any other forms of
construction equipment, scaffolding erection and assembly or related services, aircraft,
watercraft, video game developers, placements in correctional facilities or mental health
institutions, or the cannabis industry (or any part thereof).

Refer to GigSmart’s insurance policy page for more information.



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On-Demand Independent Contractors Association (“ODICA”)
Membership in ODICA is non-transferable and only one membership in ODICA is allowed
per eligible person. ODICA bylaws are available upon request. Nothing herein creates the
relationship of employer-employee between member and ODICA. Members of ODICA have
access to certain benefits and/or products offered by ODICA. Benefits and/or products are
offered at the sole discretion of ODICA, and may vary by availability, vendor or the
member’s state of residence. ODICA may change vendors or immediately terminate the
benefits and/or products offered without prior notice to members. Termination of
membership in ODICA will result in the loss of such benefits and/or products. By accepting
these Terms you authorize ODICA to share your information with such third¬ party
vendors on an as needed basis only.

By accepting these Terms, you also understand that you are enrolling as a member of
ODICA with no voting rights. You understand and certify to the best of your knowledge that
all information you provide to ODICA is complete and truthful and you are at least 18 years
of age. Membership in ODICA is effective the first day of the month in which you enroll as a
member. You must continue your membership in ODICA to participate on the Platform and
accept gig engagements.

Account Registration and Other Submissions
A person, company, entity or organization may access the Platform without registering for
an account. To access and participate in certain features of the Platform, you will need to
create a password-protected account (“Account”). You may register for an Account using
your existing Facebook or Google account and log-in credentials (your “Third Party Site
Password”). You agree to provide accurate, current, and complete information during the
registration or request submission process and at all other times when you use the
Platform, and to update your information to keep it accurate, current, and complete. You
are solely responsible for safeguarding your GigSmart password and, if applicable, your
Third-Party Site Password. You are solely responsible for all activity that occurs on your
Account, and you will notify GigSmart immediately of any unauthorized use. GigSmart is
not liable for any losses by any party caused by unauthorized use of your Account.
Notwithstanding the foregoing, you may be liable for the losses of GigSmart or others due
to such unauthorized use.

Use of the Platform
You agree to use the Platform responsibly, exercise appropriate due diligence as a User and



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at all times act in accordance with the Terms of Use set forth herein in a manner that is
appropriate to the purpose of the Platform.

Account Security
You are responsible for maintaining the confidentiality of your passwords and account
information on the Platform, and you are fully responsible for all activities that occur under
your account. You agree to immediately notify GigSmart of any unauthorized use of
accounts or any other breach of security.

Disputes Between or Among Users
In the event that a dispute is initiated by either a Worker or Requester, you agree to
cooperate and meet informally to resolve the dispute. If the dispute is not resolved, you
acknowledge and agree that GigSmart is under no obligation to become involved in or
impose resolution upon you in any such dispute.

Prohibited Uses
The Platform is for the use of Workers and Requesters only and cannot be used in
connection with any separate commercial enterprises or activities without the express
written consent of GigSmart. It is to be used exclusively for Requesters requesting Services
from Workers and Workers offering to provide Services to Requesters. The Platform may
not be used by any person or organization to recruit for another website or Service or to
solicit, advertise, or contact others for employment, contracting, or any other purpose for a
business not affiliated with GigSmart without express written permission from GigSmart.
You agree not to use User Content in order to contact, advertise, solicit, or sell to others
without their express consent.

You further agree not to collect User Content or any other information, materials or content
obtained through the Platform, including without limitation names, phone numbers, email
addresses, profiles, copyrighted text, or job listings, or otherwise misuse or misappropriate
information, materials or content, or any information obtained through the use of the
Platform, using manual or automated means, including, without limitation, through web
scraping, without express written permission from GigSmart. Should GigSmart have a
reasonable basis to believe that you violated this section, GigSmart reserves the right, in
addition to other remedies and at its sole discretion, to assess a $10,000 daily penalty fee
for scraping and/or recruiting.




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5. USER CONTENT
“User Content” is defined as any information, content, messages, photos, and/or materials a
User posts on or through the Platform, submits to GigSmart and/or submits to any other
User on or through the Platform or by any other medium or method. GigSmart acts as a
passive conduit for User Content, and Users, not GigSmart, are solely responsible for the
User Content they post, submit or transmit through the Platform. User Content, including
without limitation in connection with registration and Users’ profiles, is self-reported and
you understand and agree that GigSmart does not independently verify that any or all of
the User Content is accurate, appropriate, timely or complete. You understand and agree
that you make your own decisions and assessments about User Content and about persons
to engage or engagements to accept.

GigSmart hereby expressly disclaims, and you hereby expressly release GigSmart from, any
and all liability whatsoever for any controversies, claims, suits, injuries, harm, loss and/or
damages, arising from and/or in any way related to any User Content, including without
limitation to any acts of or reliance upon other Users with respect to such User Content
and/or any comments made by a User about others.

You represent and warrant that you are the owner or licensee or otherwise have the right
to post or submit such User Content, and you grant to GigSmart an irrevocable, perpetual,
non-exclusive, fully paid, worldwide, sublicensable license to use, store, remove, delete
from storage, copy, perform, display, reproduce, adapt, modify, prepare derivative of, and
distribute such User Content and to incorporate such User Content into other works.

You agree that you are solely responsible for any User Content you post or submit, and you
represent and warrant that any User Content: (A) shall not be inaccurate, untimely,
incomplete, fraudulent or misleading, including without limitation in connection with
registration, your profile and/or use of the Platform; (B) shall not infringe any third party’s
rights, including without limitation copyright, patent, trademark, trade secret or other
propriety right or rights of publicity or privacy; (C) shall not violate any law, statute,
ordinance, rule or regulation, including without limitation those governing export control,
consumer protection, unfair competition, anti-discrimination, false advertising or the
provision of child care, elder care or health care; (D) shall not be defamatory, libelous,
threatening, harassing, abusive, or inflammatory; (E) shall not be obscene, indecent,
suggestive, violent, offensive or contain pornography or be harmful to minors; (F) shall not



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contain any viruses, Trojan horses, worms, time bombs, spiders, cancelbots, corrupted files,
or any other similar software, malware or materials that may damage, interfere with,
disrupt, impair, disable or otherwise overburden the operation of any device, computer
system or network; and (G) shall not create liability for GigSmart or cause GigSmart to lose
(in whole or in part) the Services of the GigSmart ISPs or other partners or suppliers.
GigSmart may, but is not obligated to, review or delete any User Content that, in GigSmart’s
sole discretion, violates these Terms of Use.

Although GigSmart has no obligation to screen, edit or monitor User Content, GigSmart
reserves the right, and has absolute discretion, to remove, screen or edit User Content or
suspend or terminate your account for any reason or for no reason, including if it believes
that any User Content violates any of the foregoing rules. You agree to make no further use
of the Platform during suspension or after termination. Enforcement of the User Content
rules set forth in these Terms of Use is solely at GigSmart’s discretion, and failure to enforce
such rules in some instances does not constitute a waiver of GigSmart’s right to enforce
such rules in other instances. In addition, these rules do not create any private right of
action on the part of any third party or any reasonable expectation that the Platform will
not contain any content that is prohibited by such rules.

Although GigSmart has no obligation to do so, GigSmart reserves the right, and has absolute
discretion, to remove, screen or edit User Content posted or stored on the Platform at any
time and for any reason without notice, and you are solely responsible for creating backup
copies of and replacing User Content you post or store on the Platform at your sole cost and
expense.




6. PAYMENTS & FEES
You agree to pay all applicable Fees or charges based on the Fee and billing terms then in
effect, regardless of whether you have an active Account. Charges shall be made to your
credit card, Stripe or other payment method designated at the time you make a purchase or
request a Service. If you do not pay on time or if GigSmart cannot charge a credit card,
Stripe or other payment methods for any reason, GigSmart reserves all rights permissible
under law to recover payment and all costs and expenses incurred, including reasonable
attorneys’ fees, in our pursuit of payment. You expressly acknowledge and agree that all
communications regarding delinquent accounts or Fees will be made by electronic mail or


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telephone. GigSmart may initiate these communications or may use a third party to do so,
including, but not limited to, a third-party collection agency. If you cancel your Account at
any time, you will not receive any refund. If you have a balance due on any account, you
agree that GigSmart may charge such unpaid Fees to your credit card or otherwise bill you
for such unpaid Fees. You understand and agree that you are solely responsible for
determining your own tax reporting requirements in consultation with tax advisers and
that we cannot and do not offer specific tax advice to Users.

GigSmart may use third party payment processing Services to process credit card
payments and information in connection with the payment of fees and other amounts
payable in connection with the Platform. GigSmart hereby expressly disclaims, and you
hereby expressly release GigSmart from, any and all liability whatsoever for any
controversies, claims, suits, injuries, loss, harm and/or damages arising from and/or in any
way related to GigSmart’s use of third-party payment processing Services, including
without limitation for any damage that may result should any such information be released
to any third parties. For further information about GigSmart’s use of payment processing
Services, please contact GigSmart by email at support@gigsmart.com.

Payment Services
GigSmart may offer access to a Third Party Service that provides Users with the ability to
process payments for their Services through the Platform (the “Payment Service”). Stripe is
the provider of these Payment Services and information about Stripe is available
at stripe.com. If you have questions regarding Stripe, please contact Stripe
at support@stripe.com.

Direct Payment Fees
Upon compensating a worker outside of the GigSmart platform as a non-W2 employee you
agree to pay a “Direct Payment Fee”. The full Direct Payment Policy can be found
at: https://gigsmart.com/direct-payment-policy/

Cancellation Fees
Requesters who cancel shifts prior to the scheduled start time will be charged a
cancellation fee of the shift cost. Shift cost includes hours scheduled multiplied by hourly
rate and the number of scheduled workers, including GigSmart fee. Cancellation fees vary
based on when shifts are published, scheduled, and subsequently canceled.

Refer to GigSmart’s cancellation policy for more information.


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7. COMMUNICATIONS
Location Information: Consent to Use of Data and Mobile Communications
The Platform may implement a location feature whereby they will automatically collect
your geolocation information if you provide your consent. In such event, the Platform will
use and share such location to enable Workers to determine what gigs are nearby and
Requesters to determine what Workers are nearby. GigSmart may also use location
information to provide information and advertising to Users. If you want to stop the
automatic collection of your location information you may do so by using the privacy
settings in the Platform and/or on your device and/or by uninstalling the App.

You also consent to GigSmart communicating with you about the Platform or in connection
with the features, functions, and activities contained therein by SMS, text message, email or
other electronic means. Your carrier’s normal messaging, data and other rates and fees will
apply to these communications. The provision and delivery of text messages by GigSmart
or our text message service providers is governed by our SMS Terms and Conditions, which
are expressly incorporated herein.

Right to Use Name and Logo for Promotional Purposes
User hereby grants GigSmart a license to use, publish, and display Users’ name and logo on
GigSmart’s website and other GigSmart company materials for the purpose of indicating
that User has agreed to the Terms of Use. User also agrees to allow GigSmart to publish a
description of the User’s company alongside User’s name and logo. GigSmart hereby grants
User a license to use, publish, and display GigSmart’s name and logo in any similar manner.
At the express written request of User or GigSmart, the other party shall cease using,
publishing, and displaying the other party’s name and/or logo within fourteen (14) days of
such request.

No Professional Advice; Information Only
Any information, materials, content and/or advice provided through the Platform, whether
by GigSmart, Users or third-parties, including without limitation GigSmart blogs, including
without limitation at GigSmart.com/blog (the “Blog”), the GigSmart Facebook pages,
including without limitation at www.Facebook.com/GigSmartApp and, the GigSmart
Twitter account, including without limitation at www.twitter.com/GigSmartApp, are for
informational purposes only. If you have specific concerns or a situation arises requiring
professional advice, you should consult with an appropriately trained and qualified



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professional. GigSmart hereby expressly disclaims, and you hereby expressly release
GigSmart from, any and all liability whatsoever for any controversies, claims, suits, injuries,
losses, harms and/or damages arising from and/or in any way related to the information,
materials and content provided through the Platform, including without limitation on the
Blog, Facebook pages and Twitter account.

GigSmart reserves all of its rights under the Communications Decency Act, including,
without limitation, its right to remove anything objectionable to GigSmart in its sole
discretion. You may report any alleged improprieties by any User to GigSmart by email
at support@GigSmart.com. However, enforcement of these Terms of Use is solely at
GigSmart’s discretion, and failure to enforce these Terms of Use in some instances does not
constitute a waiver of GigSmart’s right to enforce these Terms of Use in other instances. In
addition, these Terms of Use do not create any private right of action on the part of any
User or third party or any reasonable expectation that the Platform will not contain any
content or conduct that is prohibited by such Terms of Use.

Engagement In and Storing Platform Communications
By becoming a User, you expressly consent and agree to accept and receive electronic and
other communications from GigSmart. You expressly consent and agree to receive
communications from us to facilitate communications among Users, provide our Services,
and enforce the Terms of Use. GigSmart may engage in, monitor, record and store
communications that it has with Users for quality control, training purposes and to protect
its rights under this Agreement. GigSmart may without further notice or warning, in its
discretion, engage in, access, store, use, and disclose such communications, including chat
messaging, call transcripts, and other data relating to chat messaging and calls which occur
through the Platform for its business purposes, including to provide and improve Services,
fraud prevention, and to identify violations of this Agreement.

Communications Data Information
GigSmart enables Users to communicate with each other by chat messaging or calling
through its internal communications Platform. Users and GigSmart will have the ability to
send chat messages and call each other through the Platform. In the course of providing
this service through the Platform, GigSmart will engage in, receive and store information
regarding each chat message or call, including date, time, and content. GigSmart will store
chat messages, calls, or any other content GigSmart deems appropriate for an indefinite
period of time in its discretion. Users will be able to view their chat messages while stored;



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however, will have not have access to the recordings of any calls. GigSmart uses the content
stored and information it collects to enable communications between Users. For example, a
worker may text or call a requester to confirm instructions, change a location, or add on
services. GigSmart may also use this information for quality control purposes, to improve
its Services, for fraud prevention, to monitor for inappropriate communications, and to
identify violations of this Agreement.

Comments, Questions, and Suggestions
You acknowledge and agree that all comments, questions, and suggestions you provide to
GigSmart become the exclusive property of GigSmart. You forever assign to GigSmart all
right, title, and interest in and to all comments, questions, and suggestions, including,
without limitation, any proprietary or intellectual property rights therein, such as Service
mark, trademark, patent, copyright, or trade secret. At GigSmart’s request and expense, you
agree to undertake any acts which GigSmart may reasonably request to assist it in
acquiring, perfecting and maintaining intellectual property rights and other legal
protections for any such comments, questions, and suggestions. GigSmart shall have no
obligation concerning such comments, questions, and suggestions, including, but not
limited to, no obligation to return any materials associated with the comments, questions,
and suggestions, or acknowledge receipt of any comments, questions, and suggestions. By
sending or otherwise transmitting comments, questions, and suggestions to GigSmart, you
represent and warrant that you have the right to disclose such comments, questions, and
suggestions and that they do not violate the rights of any other person or entity. This
paragraph shall survive any termination of your Account or the Platform.

You are solely responsible for all of your communications and interactions with other
Users of the platform and with other persons with whom you communicate or interact as a
result of your use of the platform. You understand that GigSmart does not make any
attempt to verify the statements of users of the platform or to review or vet any services.
GigSmart makes no representations or warranties as to the conduct of users of the platform
or their compatibility with any current or future users of the platform. You agree to take
reasonable precautions in all communications and interactions with other users of the
Platform and with other persons with whom you communicate or interact as a result of
your use of the platform, particularly if you decide to meet offline or in person and give or
receive services. GigSmart explicitly disclaims all liability for any act or omission of any
users or third parties.




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8. CONFIDENTIALITY
Privacy Policy
Please refer to the GigSmart Privacy Policy at GigSmart.com/privacy for information on
how GigSmart collects, uses and discloses information about you.

Use and Disclosure
From time to time, you may be given access to confidential information in the course of
performing engagements that you receive through GigSmart. During the term of this
Agreement and at all times thereafter, you will (a) hold all Confidential Information in strict
trust and confidence, (b) refrain from using or permitting others to use Confidential
Information in any manner or for any purpose not expressly permitted or required by this
Agreement, and (c) refrain from disclosing or permitting others to disclose any Confidential
Information to any third party without obtaining GigSmart’s express prior written consent
on a case-by-case basis.

Standard of Care
You will protect the Confidential Information from unauthorized use, access, or disclosure,
in the same manner, you protect your own confidential or proprietary information of a
similar nature, and with no less than reasonable care.

Exceptions
Your obligations under this Confidentiality section will terminate with respect to any
particular information that you can prove, by clear and convincing evidence, (a) you
lawfully knew prior to GigSmart’s first disclosure to you, (b) a third party rightfully
disclosed to you free of any confidentiality duties or obligations, or (c) is, or through no
fault of you has become, generally available to the public. Additionally, you will be
permitted to disclose Confidential Information to the extent that such disclosure is
expressly approved in writing by GigSmart, or is required by law or court order, provided
that you immediately notify GigSmart in writing of such required disclosure and cooperate
with GigSmart, at GigSmart’s reasonable request and expense, in any lawful action to
contest or limit the scope of such required disclosure, including filing motions and
otherwise making appearances before a court.




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Removal & Return
Upon GigSmart’s request and upon any termination or expiration of this Agreement, you
will promptly (a) return to GigSmart or, if so directed by GigSmart, destroy all Confidential
Information (in every form and medium), (b) permanently erase all electronic files
containing or summarizing any Confidential Information, and (c) certify to GigSmart in
writing that you have fully complied with these obligations.




9. INTELLECTUAL PROPERTY
GigSmart Content is protected by the copyright, trademark, and proprietary laws of the
United States, foreign countries, and international conventions. Except as expressly
provided in these Terms, GigSmart and its licensors exclusively own all right, title, and
interest in and to the Platform and GigSmart Content, including all associated intellectual
property rights. All trademarks, service marks, logos, trade names and any other
proprietary designations of GigSmart used herein are trademarks or registered trademarks
of GigSmart. Any other trademarks, service marks, logos, trade names, and any other
proprietary designations are the trademarks or registered trademarks of their respective
owners.

Except for the license expressly granted in these Terms of Use, you are not granted any
rights in or to the Platform by implication, estoppel, or other legal theory, and all rights in
and to the Platform not expressly granted in these Terms of Use are hereby reserved and
retained by GigSmart. The Platform, the GigSmart Content, and all information, materials,
tools, code and content contained therein, including without limitation all text, graphics,
logos, editorial content, data, formatting, graphs, designs, HTML, look and feel,
photographs, music, sounds, images, software, videos, designs, typefaces, source and object
code, format, directories, queries, algorithms, structure, organization, and other content
(collectively “Proprietary Material”), are owned by GigSmart or its licensors or users and is
protected by U.S. and international copyright law. This Proprietary Material is protected in
all forms, media, and technologies now known or hereinafter developed. GigSmart also
owns the coordination, selection, arrangement, and enhancement of such Proprietary
Material as a collective work and/or compilation under the United States Copyright Act, as
amended. You may not copy, download, use, redesign, reconfigure, or retransmit anything
from the Platform without GigSmart’s prior express written permission. Furthermore, you



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are not allowed to post, distribute or reproduce any User Content that you do not own, or
which you do not have permission to use. Violation of this policy may result in copyright,
trademark or other intellectual property rights violations and liability, and subject you to
termination or suspension from the Platform and/or civil and/or criminal penalties. In
addition, the Platform contains material protected by the copyright, trademark, and
proprietary laws of the United States, foreign countries, and International Conventions. Any
use of such Proprietary Material, other than as permitted herein, is expressly prohibited
without the prior permission of GigSmart and/or the relevant right holder. The Platform
service marks, trademarks, logos, and trade names used herein and appearing on the
Platform are owned by GigSmart or used with permission of the respective owners, and
you acknowledge the rights of GigSmart and the respective third parties therein. You may
not copy or use any of these service marks, trademarks, logos or trade names or other
proprietary material of any nature without the prior written permission of the owner.

In accordance with the Digital Millennium Copyright Act (“DMCA”) and other applicable
laws, GigSmart has adopted a policy of terminating, in appropriate circumstances and at
GigSmart’s sole discretion, members who are deemed to be repeat infringers. GigSmart
may also, at its sole discretion, limit access to the Platform and/or terminate the accounts
of anyone who infringe any intellectual property rights of others, whether or not there is
any repeat infringement.

Copyright Complaints
Without limiting the foregoing, owners of copyrighted works who believe that their rights
under copyright law have been infringed may take advantage of certain provisions of the
DMCA to report alleged infringements. If you believe that your work has been copied and
posted on or made accessible through the Platform in a way that constitutes copyright
infringement, please provide GigSmart’s designated agent (as set forth below) with the
following information:

                  •
                          o
                          •   An electronic or physical signature of the owner of the copyright
                              or the person authorized to act on behalf of the owner of the
                              copyright interest;
                          •   A description of the copyrighted work or other intellectual
                              property that is claimed to have been infringed, including the URL
                              (Internet address) or other specific location within the Platform




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                              where the infringing material is located. Include enough
                              information to allow GigSmart to locate the material;
                          •   Your address, telephone number, and email address;
                          •   A statement by you that you have a good faith belief that the
                              disputed use is not authorized by the copyright or intellectual
                              property owner, its agent, or the law; and
                          •   A statement by you, made under penalty of perjury, that the
                              information in your notice is accurate, and that you are the
                              copyright or intellectual property owner or authorized to act on
                              the copyright or intellectual property owner’s behalf.
Designated Agent:
Name of Agent Designated to Receive Notification of Claimed Infringement:
Eric M. Robbins, Esq.

Full Address of Designated Agent to Which Notification Should Be Sent:
Ulmer & Berne LLP, 600 Vine Street, Suite 2800, Cincinnati Ohio 45202-2409

Telephone Number of Designated Agent:
(513) 698-5148

Facsimile Number of Designated Agent:
(513) 698-5149

Email Address of Designated Agent:
copyright@GigSmart.com




10. LINKS TO OTHER SITES
Third Party Services and Content
The Platform may contain links or otherwise contain or provide access to third-party
products, services, websites, advertisers, applications, information, and content
(collectively, “Third Party Services and Content”). Access to these Third-Party Services and
Content is provided solely for convenience. For example, the Platform may provide access
to a third party payment processing service that enables workers to collect payments
through the Platform from requesters who engage them and may make third-party content
available through the Platform, such as on the Facebook pages, Blog and Twitter account.
You understand and agree that such Third-Party Services and Content are not provided by



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GigSmart, and GigSmart does not control or endorse and does not make any
representations or warranties regarding such Third-Party Services and Content.

You understand and agree that use of such Third-Party Services and Content is at your own
risk, that GigSmart terms of use and policies do not apply to such Third-Party Services and
Content, and that GigSmart is not responsible for the privacy or business practices or other
policies of such Third-Party Services and Content or for the accuracy, completeness, safety
or quality of the third party services and content. You should carefully review any
applicable terms and policies that apply to any Third-Party Services and Content. GigSmart
is not responsible or liable in any manner for such Third-Party Services and Content, or for
any loss or damage of any sort incurred as a result thereof, and GigSmart hereby expressly
disclaims, and you hereby expressly release GigSmart from, any and all liability whatsoever
for any controversies, claims, suits, injuries, liabilities and/or damages arising from and/or
in any way related to such Third-Party Services and Content, including without limitation
relating to availability, terms of use, privacy, information, content, materials, advertising,
charges, payment, products and/or services.

App Store
You acknowledge and agree that the availability of the App is dependent on the third party
from which you received the App, e.g., the Apple iPhone App Store or Google Play App Store
(“App Store”). You acknowledge and agree that these Terms of Use are between you and
GigSmart and not with the App Store. The App Store is not responsible for the App, the
content thereof, maintenance, support Services, and warranty therefore, and addressing
any claims relating thereto (e.g., product liability, legal compliance, or intellectual property
infringement). You agree to pay all fees charged by the App Store in connection with the
App (if any). You agree to comply with, and your license to use the App is conditioned upon
your compliance with, all applicable third-party terms of agreement when using the App.




11. GENERAL PROVISIONS
U.S. Export Controls
No part of the Platform may be exported or re-exported into any country to which the U.S.
has embargoed goods or to anyone on the U.S. Treasury Department’s list of Specially
Designated Nationals or the U.S. Commerce Department’s Table of Deny Orders. By using



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the Platform, you represent and warrant that you are not located in, under the control of, or
a national or resident of any such country or on any such list.

No Third-Party Beneficiaries
Except as otherwise expressly provided in these Terms of Use, there shall be no third-party
beneficiaries to these Terms of Use.

No Joint Venture
You acknowledge that you are not legally affiliated with GigSmart in any way, and no
independent contractor, partnership, joint venture, employer-employee or franchiser-
franchisee relationship is intended or created by your use of the Platform or these Terms of
Use. As such, you shall not have, or hold out to any third party as having, any authority to
make any statements, representations or commitments of any kind, or to take any action,
that shall be binding on GigSmart, except as provided herein or authorized in writing by
GigSmart. GigSmart is not an employment service or agency and does not serve as an
employer of Users. GigSmart may recruit Users for employment, secure employment for
Users or evaluate or test Users for employment purposes.

Limitations on Use
In the interest of maintaining the performance and availability of the Platform and in
enforcing these Terms of Use, GigSmart reserves the right to place certain limitations on
your access to the Platform at any time and for any reason. You acknowledge and agree
that this term supersedes any specific offer made by GigSmart and that these limitations
may be enforced in GigSmart’s sole discretion. If you feel that these limitations are
interfering with legitimate use of GigSmart in keeping with the Terms of Use, you shall
refer this concern to GigSmart and abide by the determination of GigSmart.

Arbitration
Any controversy, claim, suit, injury, harm, loss or damage arising from or in any way
related to the use or provision of the Platform or these Terms of Use shall only be resolved
by binding arbitration and conducted in accordance with these Terms of Use and the
Commercial Arbitration Rules and Arbitration Procedures of the American Arbitration
Association (“AAA”) then in effect, which can be obtained at any AAA office, at
www.adr.org, or by calling the AAA at 1-800-778-7879. If there is any inconsistency
between the AAA Rules and this arbitration provision, the terms of the arbitration
provision will control unless the arbitrator determines that the application of the



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inconsistent terms would result in a fundamentally unfair arbitration. This arbitration
provision will be construed and enforced in accordance with the Federal Arbitration Act, 9
U.S.C.§1 et seq.

Arbitration shall be conducted before a single arbitrator chosen by GigSmart and you and
both you and GigSmart expressly waive entitlement, if any, to have any controversy, claim,
suit, injury, harm, loss or damage heard before a court or a jury. The arbitrator will base the
decision on the evidence presented and in accordance with these Terms of Use and
governing law, including statutory and judicial authority. The arbitrator can award the
same damages and relief on an individual basis that a court can award to an individual
under these Terms of Use and applicable law. The arbitrator will issue a written decision,
which will contain the essential findings and conclusions on which the decision is based.
The arbitrator’s decision will be final and binding upon all parties.

GigSmart’s rights and obligations under this arbitration provision shall inure to the benefit
of the consumer reporting agency regardless of whether the consumer reporting agency is
named as a co-defendant with GigSmart or named individually in a claim that would
otherwise be subject to this arbitration provision if brought against GigSmart.

Any such controversy, claim, suit, injury, harm, loss or damage shall be arbitrated on an
individual basis and shall not be consolidated in any arbitration with any controversy,
claim, suit, injury, harm, loss or damage of any other party. However, this representative
action waiver may be severed if it would otherwise render these Terms of Use or this
arbitration provision unenforceable.

The arbitration shall be conducted in Cincinnati, Ohio, and judgment of the arbitration
award may be entered by any court having jurisdiction thereof. GigSmart may seek any
interim or preliminary relief from a court of competent jurisdiction in Cincinnati, Ohio,
necessary to protect its rights pending the completion of arbitration. You agree to submit
yourself to the personal jurisdiction of the State of Ohio.

Each party will pay its own attorneys’ fees, subject to any remedies to which that party may
later be entitled under applicable law. You will bear only those costs of arbitration that you
would have borne had you brought a claim covered by this arbitration provision in court. If
you demonstrate to the arbitrator that the costs of arbitration will be prohibitive as
compared to the costs of litigation, GigSmart will pay as much of the arbitration fees as the
arbitrator deems necessary to prevent the arbitration from being cost-prohibitive.


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Notwithstanding anything to the contrary, disputes may be brought before an
administrative agency to the extent applicable law requires access to an agency
notwithstanding the existence of this arbitration provision. Nothing in this arbitration
provision shall be construed to: (i) relieve any party of the duty to exhaust administrative
remedies by filing a charge or complaint with an administrative agency and obtaining a
right to sue notice, where otherwise required by law; or (ii) prevent either party from
cooperating with a federal or state body as required by law. However, you understand that
you are not entitled to a double recovery or eligible to receive any monetary benefit from
any action brought by an administrative agency except as required by law.

To commence an arbitration against GigSmart, you must file a case with the AAA.
Instructions for filing a case with the AAA can be found on its website, www.adr.org. You
must send a copy of any filing to GigSmart at:

GigSmart, Inc.
Attn: Megan L. Ebenschweiger, Esq.
Robbins, Kelly, Patterson & Tucker, LPA
7 West Seventh Street, Suite 1400
Cincinnati, Ohio 45202-2417

For more information, see the AAA’s claim filing page, www.adr.org/fileacase, or by calling
AAA at 1-800-778-7879

Class Action Waiver
The parties further agree that the arbitration shall be conducted in their individual
capacities only and not as a class action or other representative action, and the parties
expressly waive their right to file a class action or seek relief on a class basis. YOU AND
GIGSMART AGREE THAT EACH MAY BRING CLAIMS AGAINST THE OTHER ONLY IN
YOUR OR ITS INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER
IN ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. If any court or
arbitrator determines that the class action waiver set forth in this paragraph is void or
unenforceable for any reason or that an arbitration can proceed on a class basis, then the
arbitration provisions set forth above shall be deemed null and void in their entirety and
the parties shall be deemed to have not agreed to arbitrate disputes.

Exception: Litigation of Intellectual Property
Notwithstanding the parties’ decision to resolve all disputes through arbitration, either


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party may bring enforcement actions, validity determinations or claims arising from or
relating to theft, piracy or unauthorized use of intellectual property in state or federal court
or in the U.S. Patent and Trademark Office to protect its intellectual property rights.

30-day Right to Opt Out
You have the right to opt out and not be bound by the arbitration and class action waiver
provisions set forth above by sending (from the email address you use on GigSmart) a
written notice of your decision to opt out to opt-out@GigSmart.com with the subject line,
“ARBITRATION AND CLASS ACTION WAIVER OPT-OUT”. The notice must be sent within
thirty (30) days of your first use of the Platform, otherwise, you shall be bound to arbitrate
disputes in accordance with the terms of those paragraphs. If you opt out of these
arbitration provisions, GigSmart also will not be bound by them.

Changes to This Section
GigSmart will provide thirty (30) days’ notice of any changes to this section by posting on
the Platform or sending you an email. Amendments will become effective thirty (30) days
after they are posted on GigSmart.com or sent to you by email. Changes will apply
prospectively only to claims arising after the thirtieth (30th) day. If a court or arbitrator
decides that this subsection on “Changes to This Section” is not enforceable or valid, then
this subsection shall be severed from the section entitled Arbitration and Class Action
Waiver, and the court or arbitrator shall apply the first Arbitration and Class Action Waiver
section in existence after you began using the Platform.

Survival
This Arbitration and Class Action Waiver section shall survive any termination of your
Account or the Platform.

Venue; No Class or Representative Actions
In the event that a tribunal or arbitrator of competent jurisdiction determines that the
arbitration provision is unenforceable, you agree that the exclusive forum and/or venue for
any controversy, claim, suit, injury, harm, loss or damage arising from or in any way related
to the use, inability to use or provision of the Platform or these Terms of Use shall be an
Ohio State Court or Federal Court sitting in Hamilton County, and you hereby submit to the
exclusive jurisdiction of those courts for purposes of any such proceeding. You and
GigSmart agree that any dispute is personal to you and GigSmart and that any such
controversy, claim, suit, injury, harm, loss or damage shall be brought on an individual



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basis, and shall not be consolidated with any controversy, claim, suit, injury, harm, loss or
damage of any other party. However, this representative action waiver may be severed if it
would otherwise render these Terms of Use unenforceable.

Governing Law
The Terms and the relationship between you and GigSmart shall be governed in all respects
by the laws of the State of Ohio, without regard to its conflict of law provisions. You agree
that any claim or dispute you may have against GigSmart that is not subject to arbitration
must be resolved by a court located in Hamilton County, Cincinnati, Ohio, or a United States
District Court, Southern District of Ohio, located in Cincinnati, Ohio, except as otherwise
agreed by the parties. You agree to submit to the personal jurisdiction of the courts located
within Hamilton County, Ohio or the United States District Court, Southern District of Ohio
located in Cincinnati, Ohio, for the purpose of litigating all such claims or disputes that are
not subject to arbitration. You hereby waive any and all jurisdictional and venue defenses
otherwise available.

Disclaimers
Your use of the Platform, services or collective content shall be solely at your own risk. You
acknowledge and agree that GigSmart does not have an obligation, but reserves the right
for any reason, to (a) monitor, review, store, remove, or remove from storage, any user
content, user communications, collective content, or other data; or (b) conduct identity
verification, background or registered sex offender checks on any user. The platform is
provided “as is,” without warranty of any kind, either express or implied. Without limiting
the foregoing, GigSmart and its affiliates and subsidiaries, and their respective officers,
directors, employees and agents explicitly disclaim any warranties of merchantability,
fitness for a particular purpose, quiet enjoyment or non-infringement; any warranties
arising out of course of dealing or usage of or in trade; any warranties, representations, or
guarantees in connection with this platform or the services offered on or through this
platform; and any warranties relating to the quality, suitability, truth, accuracy or
completeness of any information or material contained or presented on this platform,
including without limitation all collective content. GigSmart makes no warranty that the
Platform or services will meet your requirements or be available on an uninterrupted,
secure, or error-free basis. GigSmart assumes no responsibility, and shall not be liable for
any damages to your computer equipment or other property on account of your access to
or use of the Platform. GigSmart shall not be liable for any defamatory, offensive, or illegal
conduct of any third-party or any loss or damage of any kind incurred as a result of the use


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of any data, user content, information, materials, substance, or collective content posted,
transmitted, or made available via the platform. No advice or information, whether oral or
written, obtained from GigSmart or through the platform, will create any warranty not
expressly made herein.

In no event shall the total, aggregate liability of GigSmart and its affiliates and subsidiaries,
and their respective officers, directors, employees and agents, arising from or relating to
the terms, Platform, services, and/or collective content, or from the use of or inability to
use the platform or collective content or in connection with any services or interactions
with any other users exceed the total amount of fees actually paid to GigSmart by you
hereunder, or one hundred U.S. dollars if no such payments have been made, as applicable.

Indemnification
You agree to indemnify, defend, and hold harmless GigSmart from and against any and all
claims, demands, causes of action, losses, expenses, damages and/or liabilities, including
reasonable attorneys’ fees and court costs, incurred by GigSmart in any way related to
your: (a) acts and/or omissions online and offline; (b) breach of these terms of use; (c)
disputes with or between other users; (d) use and/or misuse of the platform, including
without limitation any information, content and/or materials therein or obtained through
the platform; (e) violation of any applicable law, rule or regulation; (f) inaccurate, untimely,
incomplete or misleading user content, including without limitation with respect to
registration, profile, eligibility conditions and information submitted in connection with
consumer reports; (g) misstatements and/or misrepresentations, including without
limitation regarding your age and your otherwise meeting the eligibility conditions; (h) use
of third party services and content; (i) user content and any acts or omissions with respect
to such user content; (j) use of any information in the consumer reports including without
limitation in violation of FCRA; (k) use of the payment service; (l) use of ancillary support
services; (m) conduct in connection with the use of the platform or any connections made
through the platform; and/or (n) use of any services or products or any contracts or
arrangements made or provided based on information, content and/or materials obtained
on or through the platform. You further agree that you will cooperate as requested by
GigSmart in the defense of such claims. GigSmart reserves the right, at its own expense, to
assume the exclusive defense and control of any matter otherwise subject to
indemnification by users, and you shall not, in any event, settle any such claim or matter
without the written consent of GigSmart.




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Release
If permitted by law, you also agree to release GigSmart from any and all liability
whatsoever for any controversies, claims, suits, injuries, loss, harm or damages arising
from or in any way related to GigSmart’s own negligence, including, without limitation, any
negligence relating to:

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                          o
                          •   Any inaccuracy, untimeliness or incompleteness of a user’s
                              eligibility conditions;
                          •   Any misstatements or misrepresentations made by any users;
                          •   GigSmart content and any other information, materials, and
                              content obtained through use of the platform, including without
                              limitation on the Blog, Facebook pages, Twitter account;
                          •   Third party services and content, including without limitation
                              relating to availability, terms of use, privacy, information, content,
                              materials, advertising, charges, payment, products and/or
                              services;
                          •   User content, including without limitation any acts of or reliance
                              upon other users with respect to such user content and/or any
                              comments made by a user about others;
                          •   Consumer reports; and/or
                          •   The use of or inability to use the ancillary support services,
                              including without limitation the receipt, acceptance and/or use of
                              information in connection with ancillary support services.
                          •   This release does not include claims, suits, injuries, loss, harm or
                              damages arising from GigSmart’s gross negligence or willful
                              tortious conduct.
Force Majeure
Other than payment obligations, neither GigSmart nor you shall be liable to the other for
any delay or failure in performance under the Terms arising out of a cause beyond its
control and without its fault or negligence. Such causes may include but are not limited to
fires, floods, earthquakes, strikes, unavailability of necessary utilities, blackouts, acts of
God, acts of declared or undeclared war, acts of regulatory agencies, or national disasters.

Contacting You and E-SIGN Consent
You agree that GigSmart may provide you with notices, including those regarding changes
to the Terms, by email, regular mail, or postings on the Platform. With your consent,
GigSmart and Platform Users may also contact you by telephone or through text messages.
If you have agreed to receive text messages or telephone calls from GigSmart and Platform
Users, you also consent to the use of an electronic record to document your agreement. You


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may withdraw your consent to the use of the electronic record by sending an email to
GigSmart at consent@gigsmart.com or by writing to GigSmart, Inc., 999 18th Street (STE
1750S), Denver, CO, 80202 with “Revoke Electronic Consent” in the subject line. To view
and retain a copy of this disclosure or any information regarding your enrollment in this
program, you will need (a) a device (such as a computer or mobile phone) with a web
browser and Internet access; and (b) either a printer or storage space on such device. For a
free paper copy, or to update our records of your contact information, send an email
to consent@gigsmart.com with your contact information and the address for delivery.

Entire Agreement
These Terms, together with the Privacy Policy and any other legal notices or additional
terms and conditions or policies published by GigSmart on the Platform, shall constitute
the entire agreement between you and GigSmart concerning the Platform or Services
obtained through the Platform. Except as explicitly stated herein, if any provision of the
Terms is deemed invalid by a court of competent jurisdiction, the invalidity of such
provision shall not affect the validity of the remaining provisions of the Terms, which shall
remain in full force and effect.

Waiver
No waiver of any provision of this these Terms shall be deemed a further or continuing
waiver of such term or any other term, and GigSmart’s failure to assert any right or
provision under these Terms shall not constitute a waiver of such right or provision.

Statute of Limitations
You agree that regardless of any statute or law to the contrary, any claim arising out of or
related to the Platform or the Services offered therein must commence within one (1) year
after the cause of action accrues. Otherwise, such cause of action is permanently barred.

Section Headings
The section headings in these Terms are for convenience only and have no legal or
contractual effect.

Contact Information
If you have any questions about these Terms or the Platform, please contact us by sending
an email to GigSmart at support@gigsmart.com or by writing to GigSmart, Inc., 999 18th
Street (STE 1750S), Denver, CO 80202.



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Governing Law
These Terms of Use, and all other aspects or use of the Platform, shall be governed by and
construed in accordance with the laws of the State of Ohio, without regard to choice of law
or conflict of laws rules.

Developer Name and Address
Any questions, complaints or claims with respect to the App should be directed to
GigSmart, Inc. at support@gigsmart.com or by writing to GigSmart, Inc., 999 18th Street
(STE 1750S), Denver, CO 80202.

Notice
Any notice or other communication to be given hereunder shall be in writing and given by
facsimile, postpaid registered or certified mail, return receipt requested, or electronic mail
to GigSmart, Inc., 999 18th Street (STE 1750S), Denver, CO 80202.




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